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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


SPORTSCASTR INC.
(d/b/a PANDA INTERACTIVE),
                                                 Case No. 2:23-cv-472-JRG
           Plaintiff,
                                                 JURY TRIAL DEMANDED
v.

SPORTRADAR GROUP AG, and
SPORTRADAR AG,

           Defendants.


     ORDER GRANTING SPORTRADAR DEFENDANTS’ MOTION TO DISMISS

       CAME ON TO BE HEARD THIS DAY the Motion to Dismiss by Defendants Sportradar

 Group AG and Sportradar AG. Having considered the motion and the response thereto, the

 Court finds that it is well taken and should be, and hereby is GRANTED.
